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lN THE l'/tl\llTED STATES DlSTRlCT COURT E’ N
ron 'rni'~; DlsrRiC'r or NEW Mi;;xico APR 75 2079
MITCHELL R_ ELFERS
UNITED Srl`A'l"ES OF AMERICA, CLERK

Plainti'l"f`,

vs. No. CR /@ "(ZYS M/U/
.{?OSQ,W‘\L' H@KG)Q

Delendan.t.

WAIVER OF APPEARANCE AT ARRAIGNl\/IENT
AN`I`) EN"|"RY OF PI,HA

 

l understand that a Grand Jury returned an Indictment charging me with a criminal
offense or offenses

ln connection with this Indictment, l am entitled to personally appear before the
Court at every stage of criminal proceedings including arraignment

l have received and read a copy of the lndictment or have had the lndictment read to
me in my native language, and I understand the o'1"l'ense(s) With Which l am charged

I have been advised of the maximum penalties the Court may impose on me upon a
conviction ot` the offense or offenses charged

I have been advised ot` my right of silence; my right to competent legal
representation at every critical stage of the proceedings; my right to a trial, including a trial

before a jury; my right at such trial to confront my accusers. that is, to see, and to hear and

to question Witnesses and accusers Who come to court to offer evidence against me; my

 

 

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right to testify or not to testify as I so determine; my right to summon witnesses and have

my witnesses attend court and testify on my behalf; and my right to appeal the conviction
and sentence :ifI am convicted

I have been advised of my right to be presumed innocent and to be y&ee from

conviction unless and until the United States is able to prove through competent,

admissible evidence, and beyond a reasonable doubt that I committed each essential
element of each crime charged

After reading and understanding the lndictrnent, the penalties, and my rights, and

' pursuant to Fed. R. Crirn. P. IO(b), I request that the Court permit me to waive my personal

appearance in court for the arraignment, and I enter a plea of not guilty to the charge(s)

Defendant W//h_

Defense Counsel L/

contained in the Indictment.

App_roval of Jugge

Having considered the Defendant’s application to waive his/her personal

appearance and good cause appearing, I M ¢

 

@/§%>

Date United Stafes Magistrate Judge

 

 

